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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


LISA FOSTER; et al.,              )
                                  )
    Plaintiffs,                   )
                                  )         CIVIL ACTION NO.
    v.                            )          2:12cv724-MHT
                                  )
JUDICIAL CORRECTION               )
SERVICES, INC., a                 )
corporation; and                  )
CORRECTIONAL HEALTHCARE           )
COMPANIES, INC., a                )
corporation,                      )
                                  )
    Defendants.                   )

                                ORDER

    It is ORDERED that the motion to dismiss (doc. no.

49) is set for submission, without oral argument, on

February 8, 2013, with all briefs due by said date.

    DONE, this the 29th day of January, 2013.


                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
